                                      Attachment A


Defendants

JPMorgan Chase Bank, N.A., D5 Hawks LLC, WE Tahoe 1 LLC, WE Tahoe 2 LLC, New WEM
Holdings Affiliate 1 Ltd., New WEM Holdings Affiliate 2 Ltd., New WEM Holdings Ltd. and
MOA Holdings III, LLC


Defendants’ Attorneys

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